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        INFINITE PRODUCT COMPANY LLC,
   14   d/b/a Infinite CBD
   15                       UNITED STATES DISTRICT COURT
   16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   17   ADAM DASILVA, individually and on          Case No.: 2:19-cv-10148 DMG
   18   behalf of all others similarly situated,   Hon. Dolly M. Gee
   19                                 Plaintiff, INFINITE’S MEMORANDUM OF
   20                                            POINTS AND AUTHORITIES IN
        v.                                       SUPPORT OF MOTION TO
   21                                            DISMISS AND MOTION TO
                                                 STRIKE, OR IN THE
   22   INFINITE PRODUCT COMPANY                 ALTERNATIVE TO STAY THE
        LLC, d/b/a Infinite CBD, a Colorado      CASE PENDING GUIDANCE BY
   23
        limited liability company                THE FDA
   24
                                     Defendant. Date:     February 21, 2020
   25                                           Time:     9:30 a.m.
                                                Location: Courtroom 8C, 8th Floor
   26
                                                Judge:    Hon. Dolly M. Gee
   27
                                                   Complaint Filed: November 27, 2019
   28

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                                    AND MOTION TO STRIKE
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     1                 MEMORANDUM OF POINTS AND AUTHORITIES
     2   I.      INTRODUCTION
     3           Plaintiff DaSilva is a California citizen and a resident of Los Angeles County.
     4   (Compl. ¶ 15.) He allegedly purchased a CBD Isolate Dropper on November 12,
     5   2018, through the Defendant’s website for the amount of $43.15. CBD Isolate
     6   Dropper is a product sold by the Defendant containing cannabidiol (“CBD”), a
     7   naturally-occurring, indigenous nutrient of the plant Cannabis sativa L. Plaintiff,
     8   however, appears to have had no other experience with Defendant or the CBD Isolate
     9   Dropper, other than simply buying it. Plaintiff does not allege that he used the
    10   product. He does not allege dissatisfaction with the product. He does not allege
    11   physical harm. He does not allege purchasing any CBD based product from
    12   Defendant other than the CBD Isolate Dropper. Plaintiff instead makes conclusory
    13   allegations of misrepresentation and false advertisement, not based on any personal
    14   experience, but based on language lifted from a warning letter sent recently to the
    15   Defendant by the FDA, which is attached as an exhibit to the Complaint. On that
    16   basis, Plaintiff asserts claims under California’s Unfair Competition Law (“UCL”)
    17   (Cal. Bus. & Prof. Code § 17200 et seq.), False Advertising Law (“FAL”) (Cal. Bus.
    18   & Prof. Code § 17500 et seq.), and Consumer Legal Remedies Act (“CLRA”) (Cal.
    19   Civ. Code § 1750 et seq.), as well as claims for breach of implied warranty, and
    20   breach of express warranty under California law, and for declaratory relief under the
    21   Declaratory Judgment Act. As discussed in detail below, Plaintiff lacks standing to
    22   assert his claims, and fails to state a claim for which relief can be granted.
    23           Although Plaintiff relies entirely upon the FDA warning letter as the basis for
    24   his allegations that the CBD Isolate Dropper is illegal under federal law, the FDA
    25   makes no statement or allegation with respect to the CBD Isolate Dropper. The
    26   warning letter pertains only to other products sold by Defendant, none of which were
    27   purchased or consumed by Plaintiff.
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         INFINITE’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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     1           Furthermore, Plaintiff improperly seeks to represent class members for
     2   several classes of products that Plaintiff did not purchase, and from which he cannot
     3   have suffered an injury. Specifically, Plaintiff seeks recovery on both an individual
     4   and class basis for alleged damage or loss arising from ten (10) different CBD
     5   products, including a wide variety of both consumable and topical consumer
     6   products.
     7           Plaintiff also alleges statutory class allegations claims on behalf purported
     8   non-California class members under the consumer protection and warranty laws of
     9   various other states. As discussed in detail below, Plaintiff’s non-California class
    10   claims must be stricken as the law in the Ninth Circuit is clear that he cannot
    11   maintain such a claim.
    12           Finally, in the event the Court does not dismiss nor strike the Complaint,
    13   Defendant respectfully submits that the Court should abstain based on the primary
    14   jurisdiction doctrine until the Food & Drug Administration (“FDA”) has provided
    15   further clarification. The FDA is poised to issue regulations and guidance on hemp-
    16   based products such as the CBD Isolate Dropper. As the Court is aware, dietary
    17   ingredients are regulated by a comprehensive regulatory scheme pursuant to the
    18   Federal Food, Drug and Cosmetics Act (“FDCA”), 21 U.S.C. § 343, et seq.
    19   Congress determined that the FDCA labeling standards must be followed nationwide
    20   and uniformly, and thus the FDCA has an express preemption provision which
    21   provides that “no State or political subdivision of a State may directly or indirectly
    22   establish under any authority or continue in effect as to any food in interstate
    23   commerce…any requirement for nutrition labeling of food that is not identical to the
    24   requirement of section 343(q) of this title.” 21 U.S.C. § 343-1(a)(4).
    25   II.     LEGAL STANDARD.
    26           A.    Federal Rule of Civil Procedure 12(b)(1)
    27           Dismissal is proper under Fed. R. Civ. P. Rule 12(b)(1) if the plaintiff does
    28   not satisfy Article III standing requirements. See e.g. Assoc. of Am. Med. Coll. v.
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     1   United States, 217 F.3d 770, 778 (9th Cir. 2000). Similarly, Rule 12(b)(1)
     2   dismissal is proper if the court lacks subject matter jurisdiction over the plaintiff’s
     3   claim for reasons other than, or in addition to, lack of standing. Kokkonen v.
     4   Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). Motions to dismiss for lack of
     5   subject matter jurisdiction may attack jurisdiction facially or factually. See White
     6   v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In resolving a factual attack, the
     7   district court may consider extrinsic evidence. See id.; Colwell v. Dep’t of Health
     8   & Human Servs., 558 F.3d 1112, 1121 (9th Cir. 2009)
     9           B.    Federal Rule of Civil Procedure 12(b)(6)
    10           “[T]o survive a motion to dismiss, ‘a complaint must contain sufficient factual
    11   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
    12   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[T]hreadbare recitals of the elements
    13   of a cause of action, supported by mere conclusory statements, do not suffice.’” Id.
    14   at 678. The court is not required to accept as true allegations that are merely
    15   conclusory, unwarranted deductions of fact, or unreasonable inferences. See id. In
    16   deciding a Rule 12(b)(6) motion to dismiss, the inquiry is confined to the allegations
    17   of the complaint, material properly submitted with the complaint, and matters that
    18   are proper subjects of judicial notice. United States v. Ritchie, 342 F.3d 903, 908
    19   (9th Cir. 2003); Baron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994) “[A] court may
    20   consider documents which are not physically attached to the complaint but ‘whose
    21   contents are alleged in [the] complaint and whose authenticity no party questions.’”
    22   eCash Techs. Inc. v. Guagliardo, 127 F.Supp.2d 1069, 1074 (C.D. Cal. 2000)
    23   (citations omitted). A motion to dismiss may be granted based on an affirmative
    24   defense where the allegations in a complaint are contradicted by matters properly
    25   subject to judicial notice. Daniels-Hall v. Nat’l Educ. Assn, 629 F.3d 992, 998-99
    26   (9th Cir. 2010).
    27           C.    Federal Rule of Civil Procedure 12(f)
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     1           Federal Rule of Civil Procedure 12(f) provides that a court “may strike from
     2   a pleading an insufficient defense or any redundant, immaterial, impertinent, or
     3   scandalous matter.” Motions to strike can be granted if the allegations have no
     4   possible relation to the controversy and may cause prejudice to one of the parties.
     5   Friedman v. 24 Hour Fitness USA, Inc., 580 F. Supp. 2d 985, 990 (C.D. Cal. 2008);
     6   RDF Media Ltd. v. Fox Broad. Co., 372 F. Supp. 2d 556, 566 (C.D. Cal. 2005). The
     7   Ninth Circuit has defined “immaterial” matter as “that which has no essential or
     8   important relationship to the claim for relief or the defenses being pleaded” and
     9   “impertinent” matter as “statements that do not pertain, and are not necessary, to the
    10   issues in question.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993).
    11   III.    PLAINTIFF LACKS STANDING TO SUE UNDER ARTICLE III
    12           Article III standing requires a plaintiff to have ‘(1) suffered an injury in fact,
    13   (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is
    14   likely to be redressed by a favorable judicial decision.’” See Spokeo v. Robins, 136
    15   S.Ct. 1540 (2016)). “‘To establish injury in fact, a plaintiff must show that he or she
    16   suffered ‘an invasion of a legally protected interest’ that is ‘concrete and
    17   particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” See Lujan
    18   v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).
    19           Here, Plaintiff seeks redress for many products other than the CBD Isolate
    20   Dropper that he purchased from the Defendant. Plaintiff seeks redress in the
    21   Complaint for “Products” or “CBD Products” sold by the Defendant, defined as
    22   “Absolute Zero 99% + CBD Isolate,” “Freezing Point CBD Topical Cream,”
    23   “Afterglow Healing Oil 100 mg CBD Total,” “Nano Enhancer Pure Nano CBD,”
    24   “Nano Freezing Point CBD Topical Cream,” “Asteroid Gummies,” “Sour Asteroid
    25   Gummies,” “Sweetened Dropper,” “Isolate Dropper”, and “Nano Non Dairy
    26   Creamer.” (Compl. ¶ 1.) Under Article III, Plaintiff has no standing pertaining to
    27   products he did not purchase and therefore cannot allege claims in that regard.
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     1           Moreover, these ten products vary widely. Some are consumable and others
     2   are meant to be applied topically. The consumable products have different means of
     3   ingestion, with some being edible and others ingested sublingually. The products are
     4   purchased by consumers for widely varying reasons, and are used by consumers very
     5   differently. Plaintiff, however, has no connection whatsoever to any of the subject
     6   products but one.
     7           Plaintiff alleges that he purchased a single product on November 12, 2018 –
     8   a CBD Isolate Dropper, for which he paid the amount of $43.10. Plaintiff fails to
     9   allege any injury, harm or loss based on his personal experience with the product.
    10   He does not allege that he consumed the product. He does not identify any specific
    11   statement or representation made by Defendant pertaining to the CBD Isolate
    12   Dropper, nor does he allege that he saw or relied on any unidentified representation
    13   made by Defendant when he decided to purchase the CBD Isolate Dropper.
    14   Although Plaintiff predicates all of the causes of action in the Complaint on the
    15   alleged federal illegality of the CBD Isolate Dropper based on the subject FDA
    16   warning letter, nowhere in the warning letter is there any reference or allegation
    17   pertaining to the CBD Isolate Dropper. The statements within the FDA warning
    18   letter pertain only to other products sold by Defendant, none of which were
    19   purchased or consumed by Plaintiff.
    20           Based on the foregoing, there is no actual or concrete harm nor one that is
    21   traceable to the Defendant. Plaintiff lacks standing to sue under Article III. The
    22   Complaint therefore must be dismissed in its entirety.
    23   IV.     PLAINTIFF’S CLAIMS ARE PREEMPTED
    24           Where state law claims stand as an obstacle to the accomplishment and
    25   execution of the full purposes and objectives of Congress, as laid out in a
    26   comprehensive federal regulatory scheme, those claims are impliedly preempted by
    27   that federal scheme. See Crosby v. Nat'l Trade , 530 U.S. 363, 373 (2000). In
    28   Brown v. Danone a food product mislabeling class action case where the plaintiffs’
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     1   asserted violation of California consumer protection laws CLRA and UCL, the court
     2   found preemption under the Organic Food Production Act (“OFPA”) and dismissed
     3   the complaint. See e.g. Brown v. Danone, 2018 U.S. Dist. LEXIS 74692, * (N.D.
     4   Cal. May 1, 2018).
     5           In the present case, the Agriculture Improvement Act of 2018 (the “2018 Farm
     6   Bill”), Pub. L. No. 115-334, 132 Stat. 4908–11, explicitly recognized the FDA’s
     7   authority to regulate products containing cannabis-derived compounds, including
     8   hemp-derived products under the FDCA. 7 U.S.C. §§ 1639(o)–(s). Thus, state law
     9   is preempted by regulations promulgated by the FDA, and the FDCA which provides
    10   a comprehensive scheme for regulating the product at issue in this case. The court
    11   should dismiss Plaintiff’s state law claims.
    12   V.      THE COMPLAINT FAILS TO STATE A CLAIM
    13           A.    Plaintiff’s Failure to Serve A 30-Day Letter Before Filing The
    14                 Present Lawsuit Is Jurisdictional And Requires Dismissal Of
    15                 Plaintiff’s CLRA Damages Claim.
    16           California Civil Code Section 1782 provides that “thirty days or more” prior
    17   to filing a CLRA action “for damages” the consumer “shall” notify the potential
    18   defendant “of the particular alleged violation” and that he or she “correct, repair,
    19   replace or otherwise rectify the goods or services alleged to be in violation of the
    20   CLRA. The “30-day letter” has to be in writing sent by certified or registered mail,
    21   return receipt requested, to the place where the transaction occurred, such person's
    22   principal place of business within California, or, if neither will effect actual notice,
    23   the office of the Secretary of State of California. See id. Federal courts in California
    24   have found that failure to serve the 30-day letter is jurisdictional and requires
    25   dismissal of the CLRA damages claim. Davis v. Chase Bank U.S.A., N.A. 650
    26   F.Supp.2d 1073, 1088-1089 (C.D. Cal. 2009); Cattie v. Wal-Mart Stores, Inc. 504
    27   F.Supp.2d 939, 950 (S.D. Cal.2007); Laster v. T-Mobile USA, Inc. 407 F.Supp.2d
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     1   1181, 1195-1196 (S.D. Cal. 2005); Von Grabe v. Sprint PCS 312 F.Supp.2d 1285,
     2   1304 (S.D. Cal. 2003).
     3           Here, Plaintiff fails to allege that he gave such notice to the Defendant before
     4   filing the present lawsuit on November 27, 2019. That is because he can’t. A CLRA
     5   demand letter was sent but after the Complaint was filed, on December 2, 2019. See
     6   Ex. 1 to RJN. Accordingly, Plaintiff’s claim for damages under the CLRA should
     7   be dismissed.
     8           B.    Plaintiff’s UCL, FAL And CLRA Causes Of Action Must Be
     9                 Dismissed Because He Cannot Establish The Necessary Causal Link
    10                 Between Any Purported Misrepresentation Or False Advertisement
    11                 By Defendant And The Decision To Purchase A CBD Isolate
    12                 Dropper.
    13           A plaintiff’s injury must come “as a result of” the unfair competition or a
    14   violation of the false advertising law.” Bus. & Prof. Code, §§ 17203, 17204, 17535;
    15   In re Tobacco II Cases, 46 Cal.4th 298, 328 (2009); Hale v. Sharp Healthcare, 183
    16   Cal. App. 4th 1373, 1382 (2010); Durell v. Sharp Healthcare, 183 Cal. App. 4th
    17   1350, 1359 (2010); Bower v. AT&T Mobility, LLC, 196 Cal.App.4th 1545, 1554
    18   (2011). “The phrase ‘as a result of’ in its plain and ordinary sense means ‘caused
    19   by’ and requires a showing of causal connection or reliance on the alleged
    20   misrepresentations.” Id. “[T]here must be a causal connection between the harm
    21   suffered and the unlawful business activity. That causal connection is broken when
    22   a complaining party would suffer the same harm whether or not a defendant
    23   complied with the law.” Daro, supra, 151 Cal.App.4th at p. 1099; Gutierrez v. Wells
    24   Fargo & Co., 2009 WL 1246689 *4 (N.D. Cal. May 5, 2009).
    25           In other words, there must be evidence that the plaintiff both perceived and
    26   relied upon Defendant’s advertisements or misrepresentations in entering into the
    27   transactions at issue. Laster, 40 F. Supp. at 1194. Dismissal of a UCL or FAL claim
    28   is appropriate if the plaintiff cannot prove that she “entered into the transaction as a
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     1   result of the alleged misrepresentations. Id. (dismissing UCL claim because the
     2   named plaintiff did not allege he saw, read, or in any way relied on the allegedly
     3   false advertisements); see also Doe v. Texaco, Inc., 2006 WL 2053504 (N.D. Cal.
     4   July 21, 2006) (emphasis in original) (“[T]he ‘as a result of language in the statute
     5   means that, for a plaintiff to state a claim, he or she must allege that they relied upon
     6   the defendants acts of unfair competition and, as a result, suffered injury in fact.);
     7   Hall v. Time, Inc., 158 Cal.App.4th 847, 849 (2008) (“The phrase ‘as a result of in
     8   its plain and ordinary sense means ‘caused by’ and requires a showing of a causal
     9   connection or reliance on the alleged misrepresentation.). “[A]ctual reliance is an
    10   element of a CLRA claim." Cattie v. Wal-Mart Stores, Inc. 504 F.Supp.2d 939, 946
    11   (S.D. Cal. 2007) ("California requires a plaintiff suing under the CLRA for
    12   misrepresentations in connection with a sale to plead and prove she relied on a material
    13   misrepresentation"); Chamberlan v. Ford Motor Co. 369 F.Supp.2d 1138, 1147 (N.D.
    14   Cal. 2005) (relief under CLRA requires proof of loss causation); Gartin v. S & M
    15   NuTec LLC (C.D. Cal. 2007) 245 F.R.D. 429, 440 ("causation is a requirement of relief
    16   under CLRA"); Sateriale v. R.J. Reynolds Tobacco Co. 697 F3d 777, 793 (9th Cir.
    17   2012) (affirming the district court's dismissal of a CLRA claim due to lack of
    18   reliance on the defendant's announcement terminating a rewards program).
    19           Because of similarity in standards utilized, courts often address UCL, FAL
    20   and CLRA claims in tandem. See e.g. Kowalsky v. Hewlett-Packard Co., No.: 10–
    21   CV–02176–LHK, 2011 WL 1466136, at *4 (N.D. Cal. Apr. 15, 2011); Neu v.
    22   Terminix Intern., Inc., No. C 07–6472 CW, 2008 WL 2951390, at *3–4 (N.D. Cal.
    23   July 24, 2008) (analyzing UCL and FAL claims together); Chacanaca v. Quaker
    24   Oats Co., No. C 10– 0502 RS, 2010 WL 4055954, at * 11–12 (N.D. Cal. Oct. 14,
    25   2010) (same); Sateriale v. R.J. Reynolds Tobacco Co. 697 F3d 777, 793 (9th Cir.
    26   2012) (analyzing UCL and CLRA claims together).
    27           Here, the Complaint fails to meet the causation requirement. Plaintiff did not
    28   perceive or rely upon any advertisement or representation made by the Defendant
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     1   before he decided to purchase a CBD Isolate Dropper. (Compl. ¶ 13.) There is no
     2   allegation in the Complaint demonstrating any causal link between Plaintiff’s
     3   decision to purchase the product at issue and any alleged label claim, marketing
     4   statement, advertisement or representation. Plaintiff instead makes conclusory
     5   allegations of misrepresentation and false advertisement, not based on any personal
     6   experience, but based on language lifted from a warning letter sent recently to the
     7   Defendant by the FDA, which is attached as an exhibit to the Complaint.
     8   Furthermore, Defendant’s website is dynamic. There will be no way for Plaintiff to
     9   now identify what may have been represented before or after the alleged purchase
    10   date of November 12, 2018. See McVicar v. Goodman Global, Inc., 2015 WL
    11   4945730 (C.D. Cal. Aug. 20, 2015) (plaintiffs, purchaser of a new home never
    12   visited defendant’s website nor read any advertisement prior to purchasing
    13   defendant’s allegedly defective heating and air conditioning unit, and thus could not
    14   prove causation and could not maintain a UCL claim); In re Ferrero Litig., 794
    15   F.Supp.2d 1107, 1112 (S.D. Cal. 2011) (UCL plaintiffs who sued manufacturer of
    16   Nutella over health claims on label and on website lacked standing to sue over
    17   website claims where they failed to allege that they actually viewed the website
    18   before making their purchase decision.)
    19           Moreover, it bears repeating that although Plaintiff predicates all of the causes
    20   of action in the Complaint on the alleged federal illegality of the CBD Isolate
    21   Dropper based on the subject FDA warning letter, nowhere in the warning letter is
    22   there any reference or allegation pertaining to the CBD Isolate Dropper. The
    23   statements within the FDA warning letter pertain only to other products sold by
    24   Defendant, none of which were purchased or consumed by Plaintiff.
    25           Although the above analysis is specific to Plaintiff’s failure to causally link
    26   any cause of action under the California consumer protection statutes to his alleged
    27   purchase of the CBD Isolate Dropper, it goes without saying that Plaintiff also has
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     1   no colorable claim under the subject statutes with respect to any of the remaining
     2   CBD products that he did not purchase or use.
     3           Based on the foregoing, dismissal is proper as to Plaintiff’s claims under the
     4   UCL, FAL and CLRA.
     5           C.    Plaintiff Fails to State a Cause of Action for Breach of Express
     6                 Warranty.
     7           “[A] breach of express warranty claim requires that the plaintiff identify a
     8   ‘specific and unequivocal written statement’ about the product that constitutes an
     9   ‘explicit guarantee.’” In re iPhone 4S Consumer Litig., 2014 U.S. Dist. LEXIS
    10   19363, at *28-29 (N.D. Cal. 2014). Plaintiff must also demonstrate that an
    11   affirmation or promise allegedly made the seller was “part of the basis of the
    12   bargain.” See, e.g., McDonnell Douglas Corp. v. Thiokol Corp. 124 F.3d 1173, 1176
    13   (9th Cir. 1997); Keith v. Buchanan, (1985) 173 Cal.App.3d 13, 20.
    14           Here, Plaintiff’s claim must be dismissed he fails to identify any affirmation,
    15   based on his personal experience, made by the Defendant to him, that constitutes an
    16   “explicit guarantee.” Plaintiff also fails to show how a purported express warranty
    17   was the part of the basis of the bargain.
    18           Instead, Plaintiff merely pleads as follows: “Through the Products’ labels and
    19   advertising, Defendant made affirmations of fact or promises, or description of
    20   goods, described above, which were ‘part of the basis of the bargain,’ in that Plaintiff
    21   and the Class purchased the Products in reasonable reliance on those statements.”
    22   (Compl. ¶ 15.) These vague and conclusory allegations fail to identify a specific and
    23   unequivocal written statement about the product that constitutes an explicit
    24   guarantee, as required under California law to plead a viable cause of action for
    25   breach of express warranty.
    26           Furthermore, to state a warranty claim, a plaintiff’s complaint must “plead
    27   that notice of the alleged breach was provided to the seller within a reasonable
    28   time.” Alvarez v. Chevron Corp., 656 F.3d 925, 932 (9th Cir. 2011). As a matter
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     1   of law, notice is not provided “within a reasonable time” if it was not given “pre-
     2   suit.” Id.; see also iPhone 4S, 2014 U.S. Dist. LEXIS 19363, at *28-29. Here,
     3   Plaintiff does not allege that he provided pre-suit notice to Defendant of any
     4   asserted breach of warranty. This requires dismissal. See Dunbar v. Medtronic,

     5
         Inc., 2014 U.S. Dist. LEXIS 94920, at *21 (C.D. Cal. 2014). The purpose of the
         pre-suit notice requirement is “to allow the breaching party to cure the breach and
     6
         thereby avoid the necessity of litigating the matter in court,” Alvarez, 656 F.3d at
     7
         932, or “to afford the seller an opportunity to engage in settlement discussion and
     8
         prepare for litigation.” Cardinal Health 301, Inc. v. Tyco Elec. Corp., 169 Cal.
     9
         App. 4th 116, 137 (2008). Despite Plaintiff’s claim, notice cannot be provided by
    10
         filing a lawsuit. See Donohue v. Apple, Inc., 871 F. Supp. 2d 913, 929-30 (N.D.
    11
         Cal. 2012).
    12
                 For these reasons, Plaintiff has not pled a viable cause of action for breach
    13
         of any express warranty pertaining to the CBD Isolate Dropper. It again goes that
    14   saying that Plaintiff has no colorable claim for breach of express warranty with
    15   respect to any of the remaining CBD products that he did not purchase or use.
    16           D.    Plaintiff Fails to State a Cause of Action for Breach of Implied
    17                 Warranty of Merchantability.
    18           Plaintiff does not sufficiently plead that the CBD Isolate Dropper was
    19   non-merchantable. To be “merchantable,” goods must merely be “fit for
    20   [the]ordinary purpose[] for which such goods are used.” Birdsong v. Apple, Inc.,
    21   590 F.3d 955, 958 n.2 (9th Cir. 2009). This “does not impose a . . . requirement
    22   that goods precisely fulfill the expectation of the buyer,” or that they comply
    23   with every promise the manufacturer has made (which is the role of express
    24   warranty). Viggiano, 944 F. Supp. 2d at 896. “Instead, it provides for a

    25   minimum level of quality.” Id. Thus, “[a] plaintiff who claims a breach of the
         implied warranty of merchantability must show that the product did not possess
    26
         even the most basic degree of fitness for ordinary use.” Id. (emphasis added)
    27
         (internal quotations omitted).
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     1           Here, Plaintiff does not allege that the CBD Isolate Dropper lacks “even
     2   the most basic degree of fitness for ordinary use.” Plaintiff instead makes
     3   conclusory allegations about many products he did not even purchase, and not
     4   based on any personal experience, but based on language lifted from a warning

     5
         letter sent recently to the Defendant by the FDA. None of these allegations
         establish that the CBD Isolate Dropper was non-merchantable. Id.
     6
                 Plaintiff also fails to allege that he took reasonable steps to notify Defendants
     7
         within a reasonable time that the product was not suitable as he is required to do.
     8
         Cal.Com.Code § 2607(3)(A). Therefore, Plaintiff’s claim of breach of implied
     9
         warranty of merchantability should be dismissed both with respect to any alleged
    10
         implied warranty pertaining to the CBD Isolate Dropper and with respect to any of
    11
         the remaining CBD products that he did not purchase or use.
    12
                 E.    Plaintiff’s Cause of Action for Declaratory Relief under the
    13
                       Declaratory Judgment Act Should be Dismissed.
    14
                 Declaratory relief is an equitable remedy. It is not an independent cause of
    15
         action. The Declaratory Judgment Act, 28 U.S.C. § 2201, does not create any
    16
         substantive rights or causes of action. It is “a remedial arrow in the district court’s
    17
         quiver; it create[s] an opportunity, rather than a duty, to grant a new form of relief
    18
         to qualifying litigants.” Wilton v. Seven Falls Co., 515 U.S. 277, 288 (1995). A
    19
         district court may, “in the sound exercise of its judgment,” dismiss a request for
    20
         declaratory relief if it determines that a declaratory judgment “will serve no useful
    21
         purpose.” Countrywide Home Loans, Inc. v. Mortgage Guar. Ins. Corp., 642 F.3d
    22
         849, 852 (9th Cir. 2011). Furthermore a declaratory judgment may only be issued
    23
         in the case of an actual controversy. See id. “A prayer for injunctive and declaratory
    24
         relief requires an assessment…of whether the plaintiff has sufficiently shown a real
    25
         and immediate threat of future harm.” City of Los Angeles v. Lyons, 461 U.S. 95,
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         102 (1983). “Past exposure to [allegedly] illegal conduct does not in itself show a
    27
         present case or controversy regarding injunctive relief.” See id.
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     1           Here, Plaintiff has not alleged a likelihood of future injury. There are no facts
     2   alleged to support the possibility of a Plaintiff of any future purchase of another CBD
     3   Isolate Dropper such that he cannot allege imminent or future harm. To the contrary,
     4   a fair reading of the Complaint supports the reasonable conclusion that Plaintiff will
     5   not purchase more of Defendant’s products. Therefore, the possibility of future
     6   purchase of CBD Isolate Dropper is “too speculative and contingent to create a case
     7   or controversy under Article III” because it is dependent on “discretionary
     8   decisions” and “multiple uncertain contingencies.” See Medical Diagnostic, 2018
     9   WL 784456, at *7. Furthermore, to grant the relief requested, the Court would have
    10   to act upon a hypothetical state of the law as to legality of sale of CBD products due
    11   to pending further guidance and regulation of CBD products by the FDA. New
    12   Image Global, Inc. v. National Tobacco Company LP, No. 09-06761—DMG
    13   (DTBx), 2010 WL 11506711, * 5 (C.D. Cal. March 15, 2010); Adams v. Johnson,
    14   355 F.3d 1179, 1183 (9th Cir. 2004) (mere “conclusory allegations of law and
    15   unwarranted inferences are insufficient to defeat a motion to dismiss.”) This
    16   controversy is neither real nor immediate, and the Court should therefore dismiss
    17   Plaintiff’s cause of action for declaratory relief.
    18   VI.     PLAINTIFF’S NON-CALIFORNIA CLAIMS MUST BE DISMISSED
    19           AND HIS MULTISTATE CLASS ALLEGATIONS STRICKEN
    20           “Sometimes the issues are plain enough from the pleadings to determine
    21   [that] the interests of absent class members are [not] fairly encompassed within the
    22   named plaintiff’s claim.” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160
    23   (1982). Plaintiff alleges a class action on behalf of all persons in the United States
    24   who purchased Defendant’s CBD Products, or in the alternative, on behalf of all
    25   persons in the State of California who purchased Defendant’s CBD. (Compl. ¶ 42-
    26   43.) However, Plaintiff is not a member of a purported non-California class. He
    27   therefore lacks standing to assert claims on behalf of such purported classes, and
    28   thus such purported classes lack a class representative. Furthermore, under Ninth
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     1   Circuit precedent, similar consumer-protection actions that seek to certify
     2   multistate classes fail the commonality and predominance requirements of Rule
     3   23. For these reasons, the non-California multi-state class allegations must be
     4   stricken from the Complaint.
     5           A.    Plaintiff Lacks Standing Under the Laws of Other States
     6           Plaintiff is a citizen of California and he resides in Los Angeles County where
     7   he purchased the CBD Isolate Dropper. (SAC ¶ 13.) “[A] plaintiff who is not a
     8   resident of a state lacks standing to represent . . . [other] individuals asserting claims
     9   under the laws of that state.” Keegan v. Am. Honda Motor Co., 284 F.R.D. 504, 547
    10   n.129, 548-49 (C.D. Cal. 2012). Plaintiff’s claims under other states’ laws, therefore,
    11   must be dismissed. See Pardini v. Unilever United States, Inc., 961 F. Supp. 2d 1048,
    12   1061 (N.D. Cal. 2013) (“where . . . a representative plaintiff is lacking for a particular
    13   state, all claims based on that state’s laws are subject to dismissal”).
    14           B.    The Non-California Multistate Class Allegations Should Be
    15                 Stricken
    16                 1.     The Non-California Multistate Class Lacks a Class
                              Representative
    17
                 Plaintiff is a California resident and alleges harm based on California law.
    18
         Plaintiff is not a member of a putative class from the other, non-California states. It
    19
         is axiomatic that no class can be certified without a class representative who belongs
    20
         to the class. See Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1067 (9th Cir.
    21
         2014). A non-California multistate class, without a class representative, cannot be
    22
         certified.
    23
                       2.     The Non-California Multistate Class Lacks Commonality
    24
                              and Predominance
    25
                Even if Plaintiff could somehow represent non-California multistate classes,
    26
         those classes still could not be certified because variations among the respective
    27
         states’ laws would render a class-wide trial impossible. California’s statutes do not
    28
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     1   apply outside California’s borders. See Sullivan v. Oracle Corp., 51 Cal. 4th 1191,
     2   1207 (2011) (UCL does not operate extraterritorially); Allergan, Inc. v. Athena
     3   Cosmetics, Inc., 738 F.3d 1350, 135859 (Fed. Cir. 2013) (Commerce Clause
     4   precludes extraterritorial application of California consumer-protection laws); the
     5   CLRA is actionable only by California residents. Nordberg v. Trilegiant Corp. (ND
     6   CA 2006) 445 F.Supp.2d 1082, 1096.
     7          Even if California’s statutes could apply extraterritorially, California choice-of-
     8   law principles dictate that the claims of out-of-state class members “should be
     9   governed by” the “laws of the jurisdiction in which the transaction took place,”
    10   Mazza, 666 F.3d at 589-94. District courts in California have long relied on Mazza's
    11   choice-of-law analysis to deny requests to certify nationwide state-law based class
    12   actions. See Gianino v. Alacer Corp., 846 F. Supp. 2d 1096, 1104 (C.D. Cal. 2012);
    13   Kowalsky v. Hewlett-Packard Co., 2012 U.S. Dist. LEXIS 34597 (N.D. Cal. Mar.
    14   14, 2012); Ralston v. Mortgage Inv. Group, Inc., 2012 U.S. Dist. LEXIS 45545
    15   (N.D. Cal. Mar. 30, 2012). As Central District Judge Cormac Carney noted in a
    16   food-mislabeling case, a “nationwide class action” asserting statutory and common-
    17   law claims under the laws of every state “would be . . . very unfair and inefficient,”
    18   and “trial would devolve quickly into an unmanageable morass of divergent legal
    19   issues.” Gianino v. Alacer Corp., 846 F. Supp. 2d 1096, 1103-04 (C.D. Cal. 2012).
    20            A lawsuit based on CBD product labeling and marketing is particularly ill-
    21   suited for nationwide class treatment. Not only is the FDA position evolving, but
    22   each state has a unique and widely disparate stance on CBD products under state law
    23   due to their individual authorities to regulate food safety within their own boarders.
    24   Some states have policies that prohibit the use of CBD for human consumption while
    25   other states expressly permit CBD to be added to foods and beverages or marketed
    26

    27

    28
                                               15
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     1   as dietary supplements. Yet other states, like New York1 and Louisiana2 allow for
     2   the sale of dietary supplements or topical products that contain CBD, but not foods
     3   or beverages that contain the ingredient.
     4           Several states expressly permit the sale of CBD products for human
     5   consumption, including Alabama3, Colorado4, Florida5, Indiana6, Oklahoma7, Rhode
     6   Island8, Texas9 and Utah10. Even though CBD products are permitted by these states,
     7   regulations governing its manufacture and sale differ greatly. Oklahoma, for
     8   example, passed legislation expressly permitting the sale of CBD products within
     9   the state. See Okla. Ann. §63-1-1431(A). The three-page bill requires any
    10   manufactured product containing CBD to include a label which contains the country
    11   of origin of the CBD and whether the CBD is synthetic or natural. Id.
    12           The rules governing CBD in Indiana and Utah are more stringent. Utah
    13   requires all CBD products sold within the state to be registered with Utah
    14   Department of Agriculture and Food. See Utah Admin. Code R68-26-5(3) (2019).
    15   Both Utah and Indiana implement strict labeling guidelines requiring product labels
    16   to include a scannable bar code or QR code linked to a document containing the
    17   batch identification number, the product name, the batch date, an expiration date,
    18

    19

    20   1
           See New York Dep’t of Agriculture and Markets, Frequently Asked Questions (July 16, 2019)
         (available at https://agriculture.ny.gov/system/files/documents/2019/10/CBD_FAQs.pdf) (last
    21   visited Jan. 17, 2020).
         2
    22     LA. Stat. Ann. § 3:1482(C)(3)(2019)
         3
           See State of Alabama, Office of the Attorney General, Public Notice (Updated August 14, 2019)
    23   (available                                                                                   at
         https://www.alabamaag.gov/Documents/News/PUBLIC%20NOTICE%20RE%20CBD%20Augu
    24   st%202019.pdf) (last visited Jan. 17, 2020)
         4
           See CO. Rev. Stat., §35-61-108(2)
    25   5
           See §581.217, Fla. Stat. (2019)
         6
    26     See Ind. Code Ann. §24-4-21-4 (2018)
         7
           See OK SB238 (2019) (available at https://legiscan.com/OK/text/SB238/id/2010779)
         8
    27     See 230-RICR-80-10-1 (2018)
         9
           See Tex. Code Ann. Health & Safety §443.205(a)(2019)
    28   10
            See Utah Admin. Code R68-26-5(3) (2019)
                                               16
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     1   and a link to the certificate of analysis for the specific batch. See Utah Admin. Code
     2   R68-26-5(3) (2019) and Ind. Code Ann. §24-4-21-4 (2018).
     3           Given that state regulation of CBD products are widely variable, lawsuits
     4   based on CBD labeling rules are not suited for nationwide class treatment.
     5   Furthermore, it will be impossible to determine what alleged statement and for what
     6   product each purported class member saw or relied upon and such complex variances
     7   necessitate striking class claims.
     8           State warranty laws are also sufficiently dissimilar that they cannot be thrown
     9   together into one multistate class. See Cole v. GMC, 484 F.3d 717, 725-26 (5th Cir.
    10   2007) (noting “numerous variations in the substantive laws of express and implied
    11   warranty among the fifty-one jurisdictions” concerning, inter alia, “reliance, notice
    12   of breach, vertical privity, and presumptions of merchantability”); Karim v. Hewlett-
    13   Packard Co., 2014 U.S. Dist. LEXIS 65742, at *23-25 (N.D. Cal. 2014) (same); In
    14   re Hitachi TV Optical Block Cases, 2011 U.S. Dist. LEXIS 135, at *17 (S.D. Cal.
    15   2011) (same); Sanders v. Apple, Inc., 672 F. Supp. 2d 978, 991 (N.D. Cal. 2009)
    16   (same).
    17           Here, for example, the Defendant’s website contains terms and conditions
    18   that include warranty disclaimer language. See Ex. 2 to RJN. A nationwide class
    19   would require the court to apply the law of each state to determine the substantive
    20   legal impact of that language on a case-by-case basis.

    21           Courts routinely reject a “worry later” approach when it comes to class claims.

    22   Schwartz v. Upper Deck Co., 183 F.R.D. 672, 675 (S.D. Cal. 1999). Plaintiff’s non-

    23   California multistate class allegations should be stricken because those classes lack

    24   a representative, the California statutes which this lawsuit is brought under not apply

    25   outside California’s borders, and because there is great variation among consumer

    26   protection and warranties laws from state to state, individual questions of law

    27   predominate, rather than common questions of law. In re: Dalkon Shield IUD

    28   Products Liability Litigation, 693 F.2d 853, 856 (9th Cir. 1982).
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     1   VII. IF THE COURT DOES NOT DISMISS OR STRIKE THE
     2           COMPLAINT, THE COURT SHOULD STAY THIS CASE PENDING
     3           FURTHER GUIDANCE BY THE FDA AS TO CBD PRODUCTS.
     4           District courts have inherent discretionary power to stay cases, especially if it
     5   believes that staying a case will result in an “orderly course of justice measured in
     6   terms of the simplifying or complicating of issues, proof, and questions of law.”
     7   Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005); Air Line Pilots Ass'n
     8   v. Miller, 523 U.S. 866, 878 n. 6 (1998); CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th
     9   Cir. 1962). A “stay sometimes is authorized simply as a means of controlling the
    10   district court’s docket and of managing cases before the district court.” Clinton v.
    11   Jones, 520 U.S. 681, 706 (1997).
    12           The primary jurisdiction doctrine applies where a case implicates a federal
    13   agency’s expertise with a regulated product. Here, the FDA has such expertise and
    14   it is currently conducting a review of CBD products. Syntek Semiconductor Co. v.
    15   Microchip Tech. Inc., 307 F.3d 775, 780 (9th Cir. 2002); Kane v. Chobani, LLC, No.
    16   14-15670, 2016 WL 1161782 (9th Cir. Mar. 24, 2016); Rhoades v. Avon Products,
    17   Inc., 504 F.3d 1151, 1165 (9th Cir. 2007)(efficiency is a deciding factor in whether
    18   to apply primary jurisdiction). The doctrine enables a court to take advantage of an
    19   agency’s expertise, protects the integrity of the regulatory scheme, and promotes
    20   uniformity. See id. The primary jurisdiction doctrine is a discretionary doctrine that
    21   allows “‘courts to stay proceedings or to dismiss a complaint without prejudice
    22   pending the resolution of an issue within the special competence of an administrative
    23   agency.” Garrison v. Whole Foods Market Group, Inc., No. 13-05222-CV, 2014
    24   WL 2451290, *2 (N.D. Cal. June 2, 2014). This Court should stay the case based
    25   on the primary jurisdiction doctrine.
    26           A.    The Forthcoming CBD Guidance by the FDA.
    27           In Kane, the Ninth Circuit considered the FDA’s November 12, 2015
    28   announcement of its initiation of a formal regulatory proceeding to determine the
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     1   permissible uses of the term “natural” in food labeling and mandated that
     2   the FDA's commencement of rulemaking brings into play the primary jurisdiction
     3   doctrine. Kane v. Chobani, LLC, No. 14-15670, 2016 WL 1161782 (9th Cir. Mar.
     4   24, 2016). Given the FDA proceedings, the Ninth Circuit reasoned that “delineation
     5   of the scope and permissible usage of the term[ ] ‘natural’... implicates technical and
     6   policy questions that should be addressed in the first instance by the agency with
     7   regulatory authority over the relevant industry rather than by the judicial
     8   branch.” Id. at *1-2. (citing Astiana, 783 F.3d at 760.) (internal quotation marks
     9   omitted). On that ground, the Ninth Circuit directed the district court to stay a
    10   lawsuit where plaintiffs asserted that defendant Chobani, Inc. “deceptively and
    11   unlawfully” labeled its yogurt “natural” in violation of FDA regulations, pending
    12   resolution of the FDA's rulemaking proceedings. Id. at *2. In Viggano v. Johnson
    13   & Johnson, this Court, based on the primary jurisdiction doctrine, in line with the
    14   Kane decision, and pending FDA guidance as to what constitutes proper labelling
    15   “natural” foods, stayed a lawsuit similar to the case at bar. See Viggano v. Johnson
    16   & Johnson, Case No. CV 14-7250 (C.D. Cal. June 21, 2016).
    17           Here similar to Kane and Viggano, the Court can and should stay the case.
    18   The FDA appears poised to act on regulation that will provide further guidance on
    19   the CBD products like the one at issue in this case. Last year, the FDA conducted a
    20   public hearing and instituted an agency task force on evolving CBD regulation. See
    21   U.S. Food & Drug Admin., Scientific Data and Information About Products
    22   Containing Cannabis or Cannabis-Derived Compounds; Public Hearing; Request
    23   for Comments, 84 FR 12969 (Apr. 3, 2019).
    24           In its news release that accompanied the subject warning letter issued on
    25   November 25, 2019, the FDA stated: “Today’s actions come as the FDA continues
    26   to explore potential pathways for various types of CBD products to be lawfully
    27   marketed. This includes ongoing work to obtain and evaluate information to address
    28   outstanding questions related to the safety of CBD products, while maintaining the
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     1   agency’s rigorous public health standards. The FDA plans to provide an update on
     2   its progress regarding the agency’s approach to these products in the coming
     3   weeks.”See https://www.fda.gov/news-events/press-announcements/fda-warns-15-
     4   companies-illegally-selling-various-products-containing-cannabidiol-agency-
     5   details
     6           Senate Majority Leader Mitch McConnell has introduced an amendment to an
     7   appropriations bill that would require the FDA to fast-track guidance, including
     8   enforcement discretion for some CBD products, on “the process in which CBD
     9   meeting the definition of hemp will be evaluated for use in products.” See 2019
    10   Legis. Bill Hist., U.S. S.B. 2522, 2019 Legis. Bill Hist. (2019) (“Within 90 days of
    11   enactment of this act, the FDA shall provide the Committee with a report regarding
    12   the agency’s progress toward obtaining and analyzing data to help determine a policy
    13   of enforcement discretion and the process in which CBD meeting the definition of
    14   hemp will be evaluated for use in products. Within 120 days of enactment of this
    15   act, the FDA shall issue a policy of enforcement discretion with regard to certain
    16   products containing CBD meeting the definition of hemp as defined by section 297A
    17   of the Agricultural Marketing Act of 1964”); AGRICULTURE, RURAL
    18   DEVELOPMENT, FOOD AND DRUG ADMINISTRATION, AND RELATED
    19   AGENCIES APPROPRIATIONS BILL, 2020, 116 S. Rpt. 110, at 39-40 (Sept.
    20   2019).
    21           Most recently, on January 10, 2020, a bill was introduced in the U.S. House
    22   of Representatives by Rep. Collin Peterson, Chair of the House Agriculture
    23   Committee, that seeks to exclude “hemp derived cannabidiol or a hemp derived
    24   cannabidiol containing substance” from the definition of “dietary supplement”
    25   within Section 201(ff)(3)(B) of the FDCA.See https://www.congress.gov/bill/116th-
    26   congress/house-bill/5587
    27           Thus, CBD regulation and guidance is actively evolving. It can reasonably be
    28   concluded that between the time of filing the subject Complaint and the ultimate
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     1   conclusion of this litigation, the position of the FDA on the sale, distribution,
     2   labeling and marketing of various types of CBD products will have changed. Given
     3   the highly uncertain and fluid state of this area of law, it is all but impossible for this
     4   court to accurately assess and direct the parties on the relevant legal obligations
     5   implicated by the allegations within the Complaint. Without some measure of legal
     6   certainty, there is a high risk that Defendant will be subject to conflicting legal
     7   obligations or directions imposed by this Court, the FDA and the various states.
     8           B.    The Primary Jurisdiction Doctrine Favors Staying this Action.
     9           “The primary jurisdiction doctrine allows courts to stay proceedings or to
    10   dismiss a complaint without prejudice pending the resolution of an issue within the
    11   special competence of an administrative agency.” Clark v. Time Warner Cable, 523
    12   F.3d 1110, 1114 (9th Cir. 2008). While there is no “fixed formula” for applying the
    13   doctrine, the Ninth Circuit traditionally considers four factors: “(1) the need to
    14   resolve an issue that (2) has been placed by Congress within the jurisdiction of an
    15   administrative body having regulatory authority (3) pursuant to a statute that subjects
    16   an industry or activity to a comprehensive regulatory authority that (4) requires
    17   expertise or uniformity in administration.” Syntek Semiconductor Co., v. Microchip
    18   Tech., Inc., 307 F.3d 775, 781 (9th Cir. 2002).
    19           Here, the central issue in this case is implicated by FDA’s forthcoming
    20   interpretive guidance as to CBD products. The 2018 Farm Bill explicitly grants the
    21   FDA exclusive jurisdiction to regulate CBD in consumer products. Pub. L. No. 115-
    22   334, 132 Stat. 4908–11. Questions that the FDA is currently working to resolve
    23   include how and when CBD is considered a drug versus a food additive, dietary
    24   supplement or cosmetic product, as well as what information is required to be on
    25   CBD product labels and whether the information varies according to use of the
    26   product. Other questions being considered by the FDA include whether limits should
    27   be placed on the amount of CBD per use and whether or to what extent health and
    28   disease claims, or structure and function claims, may be made in connection with
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     1   the sale of various CBD products in different market channels. These questions are
     2   all explicitly under the FDA’s jurisdiction pursuant to federal law. The resolution of
     3   these questions will be dispositive to all of the claims raised in this litigation.
     4           The FDA’s action is therefore pursuant to a statute that subjects an industry
     5   to a comprehensive regulatory scheme that requires both expertise and uniformity in
     6   administration. Where, as here, the resolution of Plaintiff’s cause of action would
     7   require interpreting and considering technical terms and industry policies, it is within
     8   the FDA’s field of experience. As the FDA’s Acting Commissioner recently
     9   commented: “The regulation of a product like CBD is complex and touches almost
    10   every aspect of FDA’s authority.” See Food & Drug Admin., FDA Acting
    11   Commissioner’s Remarks to the 2019 FDLI Annual Conference, at 4 (May 2, 2019)
    12   (available at https://www.fda.gov/news-events/speeches-fda-officials/fda-acting-
    13   commissioners-remarks-2019-fdli-annual-conference-05022019 (last visited Oct.
    14   18, 2019).
    15           Even if the guidance and rulemaking by the FDA is not dispositive, a stay is
    16   appropriate because the Court will inevitably benefit from the administrative
    17   guidance in this case. Syntek Semiconductor Co., Ltd. v. Microchip Tech., Inc., 307
    18   F.3d 775, 780 (9th Cir. 2002).The need for consistent guidance is underscored by
    19   the increasing volume of this type of litigation and the concomitant potential for
    20   inconsistent judicial rulings. Greenfield, 18 F. Supp.3d at 1376; see also Skybolt
    21   Aeromotive Corp. v. Milspec Prods., No. 5:16-cv-616-oc-PRL, 2017 U.S. Dist.
    22   LEXIS 88597, at *29 (M.D. Fla. Jun. 9, 2017) (granting stay to promote
    23   “uniformity” and “consistency” based on primary jurisdiction).
    24           On January 3, 2020, a Florida District Court stayed a case similar to the
    25   present one at bar involving CBD products based on the primary jurisdiction doctrine
    26   pending guidance by the FDA. See RJN, Ex. 3, Order on Motion to Dismiss. The
    27   Florida District Court pointed out that the FDA is exercising regulatory authority
    28   over ingestible and other CBD products, there is uncertainty with respect to whether
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     1   the FDA will conclude that some or all CBD products are food additives or
     2   supplement, and the labelling standards and requirements for CBD products will be
     3   different or the same as for other products. See id. at *14. The court noted the
     4   importance of uniformity in administration of the labelling of ingestible CBD
     5   products. The court found such factors militated in favor of application of the
     6   doctrine of primary jurisdiction and therefore stayed the case. See id. at *15. The
     7   court further determined that “[g]iven that this case is in the nature of public interest
     8   litigation, the delay occasioned by a stay under the current circumstances, would not
     9   prejudice Plaintiffs to any significant degree.” See id. Finally, the court emphasized
    10   that the current regulatory framework was inadequate to resolve the legal issues,
    11   holding:
    12           “As for the adequacy of the current regulatory framework to resolve the issue
    13           posed by this case, the Court vehemently disagrees. The FDA regulations
    14           currently provide little guidance with respect to whether CBD ingestibles, in
    15           all their variations are food supplements, nutrients or additives and what
    16           labeling standards are applicable to each iteration.”
    17   See id.
    18           It is also important to note that the FDA is currently actively involved with
    19   Defendant in resolving the issues raised in the subject November 22, 2019 warning
    20   letter. This is a direct exercise of primary regulatory jurisdiction by the FDA.
    21           Moreover, Plaintiff will not be unduly prejudiced by waiting until the FDA
    22   issues their regulations and guidance. Plaintiff dallied nearly a year to file this action
    23   after his purported purchase. The case is in the earliest stages of litigation, and has
    24   not yet been set for trial. There is no reason for the parties to waste resources and
    25   time in engaging in discovery because the need for discovery may be entirely
    26   unnecessary or greatly reduced when the FDA issues their interpretations on issues
    27   relevant to this case. Herazo, 2015 U.S. Dist. LEXIS 96811, at *13-*14. A stay
    28   should therefore simplify the issues and streamline a trial, should one take place.
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     1   Further guidance would impact the adjudication of any summary judgment motion
     2   and, prior to that, simplify issues for the parties and Court in both fact discovery and
     3   expert discovery. On the other hand, permitting discovery while the FDA regulatory
     4   proceeding is underway may impose unnecessary burdens on Defendant by leading
     5   to       discovery     that     could       be      rendered       unnecessary       by
     6   later FDA conclusions. See Chronicle Publ'g Co. v. Nat'l Broad. Co., 294 F.2d 744,
     7   749 (9th Cir. 1961) (“[t]o be effective,” a stay intended to “avoid[ ] ... unnecessary
     8   duplication of effort” must include “pre-trial discovery”); see also Rhoades, 504
     9   F.3d at 1165 (district court should not exercise jurisdiction if agency referral is a
    10   more efficient alternative). Finally, even after a stay the Court may order periodic
    11   status reports, and monitor whether a temporary stay is causing undue delay.
    12   VIII. CONCLUSION
    13           For the reasons set forth above, the Court should dismiss the Complaint for
    14   lack of Article III standing, for failure to state a claim and lack of subject matter
    15   jurisdiction. Furthermore, Plaintiff’s claims based on out-of-state statutes should be
    16   dismissed or stricken, and his multistate class allegations should be stricken.
    17   Alternatively, this Court can stay this case pending the FDA’s interpretive CBD
    18   guidance. Plaintiff, who waited a year to file his claim after a claimed purchase, will
    19   not be prejudiced. A stay will also promote uniformity and consistency in the
    20   application of FDA standards.
    21                                            Respectfully submitted,
    22   Dated: January 17, 2020                  WILSON, ELSER, MOSKOWITZ,
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                                                    EDELMAN & DICKER LLP

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    25
                                                 By: /s/Ian A. Stewart
                                                    Ian A. Stewart
    26                                              Daniel H. Lee
    27                                              Attorneys for Defendant INFINITE
                                                    PRODUCT COMPANY LLC, d/b/a
    28                                              Infinite CBD
                                               24
         INFINITE’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
                                     AND MOTION TO STRIKE
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                                             BROWNSON NORBY PLLC
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                                            By: /s/Thomas J. Norby
                                               Thomas J. Norby
     5                                         Attorneys for Defendant INFINITE
     6                                         PRODUCT COMPANY LLC, d/b/a
                                               Infinite CBD
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